Case 1:04-cv-02609-NG-SMG Document 1272 Filed 08/01/16 Page 1 of 2 PageID #: 18458

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   --------------------------------------------------X
   STATE FARM MUTUAL AUTOMOBILE                                 NOTICE OF FILING
   INSURANCE COMPANY,                                           AFFIDAVIT OF SERVICE


                                      Plaintiff,                1:04-CV-02609-NG-SMG

   -against-

   SEMION GRAFMAN, et al.,

                                       Defendants.
   --------------------------------------------------X

   To: COUNSEL AND PARTIES OF RECORD

           The Plaintiff, State Farm Mutual Automobile Insurance Company, by and through its

   undersigned counsel, hereby files the attached Affidavit of Service personally serving the Motion

   to Avoid Graham Property Transfers [DE: 1263] on May 27, 2016 upon Castoria Real Estate,

   LLC c/o Swamorsha, Manager at 363 Graham Avenue, Brooklyn, NY 11211.

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

   CM/ECF notice of electronic filing to all parties registered to received electronic noticing in this

   case on this 1st day of August, 2016.

                                                            /s/ Philip J. Landau
                                                         Philip J. Landau (PL 9613)
                                                         SHRAIBERG, FERRARA, LANDAU, & PAGE, P.A.
                                                         Attorneys for State Farm Mutual
                                                         Automobile Insurance Company
                                                         2385 NW Executive Center Drive, Suite 300
                                                         Boca Raton, FL 33431
                                                         Telephone: 561-443-0800
                                                         Facsimile: 561-998-0047
                                                         plandau@sfl-pa.com




   {2074/001/00341813}
Case 1:04-cv-02609-NG-SMG Document 1272 Filed 08/01/16 Page 2 of 2 PageID #: 18459
